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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101 LEK
 CASE NAME:              USA vs. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi           DATE:            3/2/2020

COURT ACTION: EO: ORDER DENYING RENEWED MOTION FOR JUDGMENT
OF ACQUITTAL

        On February 26, 2020, Plaintiff the United States of America (“the Government”)
rested its rebuttal case, and pro se Defendant Anthony T. Williams (“Defendant”) made
an oral motion renewing his prior Motion for Judgment of Acquittal (“Renewed Motion”
and “Original Motion”). Amended Minutes, filed 2/26/20 (dkt. no. 934); see also Motion
for Judgment of Acquittal, filed 2/18/20 (dkt. no. 903). The Renewed Motion was taken
under advisement because Defendant stated he intended to file a written version of the
Renewed Motion. Defendant, however, did not file a written version of the Renewed
Motion.

       Fed. R. Crim. P. 29(a) states, in pertinent part: “After the government closes its
evidence or after the close of all the evidence, the court on the defendant’s motion must
enter a judgment of acquittal of any offense for which the evidence is insufficient to
sustain a conviction.” The “‘sufficiency-of-the-evidence standard’” that was applied to
the Original Motion also applies to the Renewed Motion. See Minute Order, filed
2/18/20 (dkt. no. 904) (quoting United States v. Stoddard, 150 F.3d 1140, 1144 (9th Cir.
1998)). Defendant’s Renewed Motion is HEREBY DENIED because there is sufficient
evidence in the trial record that, when viewed in the light most favorable to the
Government, would allow a rational trier of fact to find the essential elements of the
charges against Defendant, beyond a reasonable doubt.

       IT IS SO ORDERED.



Submitted by: Agalelei Elkington, Courtroom Manager
